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                     UNITED STATES DISTRICT COURT
                     NORTHEN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

MARK HERNDON,                                   :
                                                :
 Plaintiff,                                     :
                                                :   Civil Action No.
v.                                              :    1:21-CV-04845-JPB-CCB
                                                    __________________
                                                :
GOLDEN KEY INTERNATIONAL                        :
HONOUR SOCIETY,                                 :
                                                :
 Defendant                                      :   JURY TRIAL DEMANDED

                                   COMPLAINT

       Plaintiff Mark Herndon, (“Herndon” or “Plaintiff”), by and through his

undersigned counsel, respectfully files this Complaint under Title VII of the Civil

Rights Act of 1964, (Title VII) action against Golden Key International Honour

Society (“Golden Key”) alleging gender (male) and age discrimination against

Plaintiff.

                         JURISDICTION AND VENUE

                                           1.

       Mark Herndon is and has been at all times relevant to this matter a resident of

Perth, Australia and is dual citizen of both the United States and Australia. At the

time of his employment with Golden Key, he was only a citizen of the United States.
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He was employed by Golden Key through its Atlanta Headquarters office, but

fulfilled the duties of his position in Perth, Australia.

                                             2.

      Defendant Golden Key International Honour Society is a Georgia

Professional Corporation, a citizen of the State of Georgia and has its principal office

at 4470 Chamblee Dunwoody Road, 304, Dunwoody, Georgia 30338. Its Registered

Agent is Derrick Brown, 4470 Chamblee Dunwoody Road, 304, Dunwoody,

Georgia 30338.

                                             3.

      The jurisdiction of this Court is invoked pursuant to its federal question

jurisdiction provisions contained in 28 U.S.C. § 1331 and the jurisdictional

provisions set forth in 42 USC Sec. 20002-5, which are incorporated by reference

into the ADEA, and the gender discrimination provisions of Title VII of the Civil

Rights Act of 1964.

                                             4.

      Venue is proper in this action because the unlawful employment practices

occurred, among other places, in this district and division.




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                                           5.

        On September 8, 2021, the District Director of the Equal Employment

Opportunity Commission in Atlanta, Georgia issued to Plaintiff the Notice of Suit

Rights which provided that a lawsuit could be filed against Defendant within ninety

(90) days of its issuance. This lawsuit is being filed on a timely basis.

                           GENERAL ALLEGATIONS

                                           6.

        Plaintiff incorporates by reference the allegations set forth in Paragraphs 1

through 5.

                                           7.

        Mr. Herndon joined Golden Key while a student at the University of

Tennessee, Knoxville in 1984 and joined the Golden Key headquarters staff in

Atlanta in 1987. He initially worked for Golden Key in several increasing roles until

2002.

                                           8.

        During this tenure between 1987 to 2002, Mark was responsible for expanding

Golden Key partnerships across the US, and therefore significant, ongoing annual

revenue generation which continues to the present time. In addition, Mark also

developed corporate partnerships which resulted in millions of dollars of revenue to



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Golden Key. Importantly, from 1992 to 2002 Mark was responsible for all

international expansion and revenue generation. Due to Mark’s work and capacity

to build partnerships both in the United States and internationally, Golden Key has

received more than $25 million in revenue between 1987 to present.

                                          9.

      In addition to his responsibilities in the United States, Mark was responsible

for the internationalization of Golden Key resulting in the expansion to Australia,

Canada, Malaysia, New Zealand, South Africa and United Kingdom. Mark was

personally responsible for developing nearly 100 of the approximate 400 university

partnerships with Golden Key in the US and globally, and coached other staff in the

process to establish additional university partnerships. In total, Mark accounted for

approximately 175 university partnerships.

                                          10.

      In 2002 Mark was recruited by the president of Macquarie University

in Sydney, Australia to join her team as the founding Director of the Alumni

Relations Office based on her experiences working with Mark to internationalize

Golden Key while she served on the Golden Key Board of Directors. Mark then

was recruited by Oxford University UK to become the Head of Development -

International and worked for the University on a three-year contract 2008-2011.


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Mark returned to Australia in 2012 to maintain his permanent residency status with

a senior role at Curtin University in Perth, WA as Director of Advancement.

                                          11.

      In Spring 2016, the former CEO/Executive Director of Golden Key, and

founding member and board member, Brad Rainey, invited Mark to return to Golden

Key as the Vice President - International after consultation with key stakeholders to

reverse the decline of university support for chapters which had consistently

occurred in the previous decade. Mark accepted the role as he was passionate about

securing support from university executives to endorse Golden Key on their

respective campuses. The aforementioned positions and areas of responsibility

enabled Mark to further develop a global network of university executives in support

of Golden Key. Mark’s ability to develop supporters among senior university

executives was unparalleled by any other Golden Key employee. Mark was an asset,

and he empowered his global network to support Golden Key.



                                          12.

      Mr. Herndon also played a key role in developing students' graduate attributes

of communication, leadership and teamwork and the contributions students make to

society through service in their respective communities. Not only did Mark meet



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with students and university executives on campuses around the world, he also led

on the delivery of the annual Asia Pacific Leadership Summit including theme,

content and speakers. And of course, he expanded or renewed Golden Key

partnerships, particularly in Canada, Australia, New Zealand, Hong Kong and

Malaysia.

                                           13.

      Between 2016 and his termination in April 2020, Mr. Herndon was highly

successful with renewing university/Golden Key partnerships, saving partnerships,

or establishing partnerships, with universities in the countries above and a

significant revenue generation for the Society. All these activities are documented

in quarterly board reports Mr. Herndon submitted to the Golden Key Board of

Directors while Brad Rainey served as the CEO/Executive Director. In contrast, and

based on information and belief, when Melissa Leitzell was appointed CEO by the

Board of Directors, she did not submit Mr. Herndon’s reports to the Board which

she in fact had requested him to submit.

                                           14.

      While Ms. Leitzell was a co-Vice President with Mr. Herndon, she was

instrumental in ousting Brad Rainey, a male about 60 years old, from his CEO

position in 2018/early 2019 in collusion with the former Chair of the Board of


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Directors. She was then appointed as CEO by the Board without a transparent or

competitive selection process even though the Board and Golden Key communicated

with all Golden Key stakeholders and members globally that they had conducted a

thorough search to make the appointment. Once Ms. Leitzell was appointed as CEO

and immediately thereafter, she quickly created a difficult and hostile environment

for Mr. Herndon based on his age and gender.

                                         15.

      For example, Ms. Leitzell intentionally withheld operational information

which Mr. Herndon should have been privy to as the VP from March 2019 until Mr.

Herndon was dismissed on 16 April 2020. The withholding of this operational

information was detrimental to Mr. Herndon being able to fully perform his duties.

Based on information and belief, and in an effort to minimize Mr. Herndon’s work

at Golden Key, Ms. Leitzell did not submit Mr. Herndon’s Board reports to the Board

of Directors,. She failed to submit this report based on her animosity toward

Herndon because of his age and gender. By way of further example, Leitzell

intentionally mislead Herndon by telling him she was in Brisbane for a Golden Key

summit meeting when she was actually in Sydney, an office over which Herndon

served as the acting director.




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      When Ms. Leitzell spoke with Mr. Herndon on 16 April 2020 regarding his

termination, together with the CFO, Mr. Herndon was fired based on a

‘restructuring,” but “restructuring” was a cover up for a termination based on his

age and gender because:

      •      he was creating relationships and opening new chapters for Golden
             Key, and saving university partnerships, which were generating
             significant revenue for Golden Key;

      •      the revenue he brought into Golden Key substantially exceeded his
             cost;

      •      that his work was enhancing the name and brand of Golden Key;

      •      he was managing the activities of the Asia Pacific office as the de facto
             Director, including the annual Asia Pacific Summit, without additional
             cost to Golden Key.

      •      May 2020 International Leadership Council minutes indicate that
             Melissa Leitzell wanted to hire additional staff members to do the work
             Mr. Herndon was already doing.

          • The work that Mr. Herndon was doing prior to his termination is now
            being done by substantially younger female employees.



                                          16.

      When Mr. Herndon asked her to explain why his role was being made

redundant, she only said, “your position wasn't working for me”; “I want a director



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in Sydney”; and that his termination “was not COVID-related.” When Mr. Herndon

asked for specifics, she stated that as the CEO and Leader, she didn't have to respond

since her decision could not be challenged. Mr. Herndon reminded Ms. Leitzell that

she never asked him to relocate to Sydney, which he would have been willing to do

since he had previously lived in Sydney.

                                           17.

      The fact was that Mr. Herndon was raising revenue by saving or establishing

new partnerships in Australia, Canada and New Zealand, setting up Golden Key in

Hong Kong for the first time where the Open University of Hong Kong was paying

for the relationship, renewing Golden Key in Malaysia, and leading on the

development and implementation of the annual Asia Pacific Leadership Summit,

etc., his termination was flatly contrary to legitimate business reasons. Herndon was

unquestionably qualified to perform the duties of his position.

                                           18.

      Ms. Leitzell has had a history of antagonistic actions against older Golden

Key employees and with male employees.

                                           19.

      At the time of Mr. Herndon’s termination, there were approximately 27

employees working for Golden Key. Mr. Herndon, who is 58 years old, was


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terminated in April 2020. The other older employee who was terminated, Brad

Rainey, was also impacted by Ms. Leitzell and her actions with the Board; he is

male, and over 60. Based on information and belief, there are only four males

currently working for Golden Key in Atlanta. Based on further information and

belief, all the staff in the Asia Pacific office and the South African office are female.

Herndon was treated worse than other similarly situated employees who were

younger or female, or both.

                                            20.

      In employment termination cases, the plaintiff’s prima facie burden is usually

described as requires a showing that (1) the employee belongs to a protected class,

(2) the employee was subjected to an adverse employment action, (3) the employee

was qualified to perform his/her job, and (4) the employer treated similarly situated

employees outside the plaintiff’s protected class more favorably.

                                            21.

      Further, the evidence of age and sex discrimination in this matter creates a

convincing mosaic of discriminatory intent. Lewis v. City of Union City, 934 F.3d

1169, 1185 (11th Cir. 2019) (citations omitted). Here, but for Herndon’s age and

gender, Herndon submits that the facts and evidence demonstrate that he would not

have been terminated by Leitzell and Golden Key.


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                                     COUNT I

                        (Discrimination Under the ADEA)
                                         22.

      Plaintiff incorporates paragraphs 1-21 above as if stated herein.

                                           23.

      Herndon was performing well, was qualified for his position            and was

terminated in an alleged “reorganization, ” a reorganizaotin in which he was the

only employee terminated. Herndon was fifty eight (58) years old at the time of

his termination.



                                           24.

      At the time of his termination, Herndon was qualified to work in his position

as Vice President-International and in fact, was performing well in addition to taking

on the duties of the Director of the Asia Pacific office. More than 30 Golden Key

advocates and supporters have submitted testimonials in support of Mark Herndon’s

impact and contributions to Golden Key.

                                           25.

      Herndon’s termination by Golden Key constituted an adverse employment

action.

                                           26.


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      Although Herndon’s position was eliminated for discriminatory reasons, his

duties remained and are being performed by younger employees               outside the

protected age category of forty (40) years old or older, and further, similarly situated

younger employees were retained by Golden Key. These similarly situated

employees were treated better than Plaintiff based on their age.

                                           27.

      Further, Plaintiff’s termination as part of a reorganization or a reduction in

force was a pretext for age discrimination: Plaintiff was the only person terminated

in the “reorganization” and was targeted by Golden Key because of his age. Herndon

was the oldest employee at Golden Key at the time. Mr. Herndon’s activities also

generated substantial revenue for Golden Key as its Vice President-International

while also performing the duties of the Director of Asia Pacific without

remuneration.

                                           28.

      Based on information and belief, Golden Key violated its internal policies

regarding termination of Herndon, a vice president, by not having full Board of

Director’s approval for his termination. In short, the explanation of the reason for

the “reorganization” as a pretext for discrimination.

                                           29.


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      Golden Key’s decision to terminate Mark Herndon through an alleged

reduction in force or reorganization was a willful and intentional violation of the

ADEA, thus entitling Herndon to liquidated damages.

                                     COUNT II

          (Violation of the Sex Discrimination Provisions under Title VII.)

                                          30.

      Plaintiff incorporates paragraphs 1-21 as if stated herein.



                                          31.

      Herndon was performing his job duties well and was terminated in a pretextual

“reorganization.”

                                          32.

      At the time of his termination, Herndon was qualified to work in his position

as Vice President-International and in fact, was performing well.




                                          33.

      Herndon’s termination by Golden Key constituted an adverse employment

action.

                                         13
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                                         34.

      Although Herndon’s position was eliminated, based on information and

belief, his duties remained and were therafter performed by substantially less

qualified female employees.

                                         35.

      Female employees similarly situated with Herndon but less qualified were

retained by Golden Key.

                                         36.

      Golden Key’s articulated reason for Plaintiff’s termination, that the expense

of Plaintiff’s position in Perth, Australia, was greater than the revenue that his

position brought in, was false and pretextual. That pretextual reason demonstrates

both age and sexual discrimination by Golden Key.



                                         37.


      The substantial motivating reason for the termination of Herndon was his

gender.

                              PRAYER FOR RELIEF

      WHEREFORE, based on the foregoing, Plaintiff Mark Herndon prays for the

following relief in this matter:

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a.     That Herndon be awarded all relief available under the ADEA,
       including backpay, reinstatement or alternatively front pay, liquidated
       damages and costs of this matter, expenses of litigation and attorneys’
       fees.

b.     That Herndon be awarded all relief available under the Title VII,
       including backpay, reinstatement or alternatively front pay,
       compensatory and punitive damages, costs of this matter, expenses of
       litigation and attorneys’ fees.


c.     That Herndon be granted a trial by jury as to all issues;

d.     That Herndon be granted injunctive and declaratory relief as
       appropriate; and


e.     That the Court grant Herndon any and all other relief to which he may
       be entitled.

 This 24th day of November 2021.

                                 Respectfully submitted,

                             By: /s/ Gary R. Kessler
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